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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

    UNITED STATES OF AMERICA,                       :   Case No. 3:21-CR-00116
                                                    :
             Plaintiff,                             :   District Judge Michael J. Newman
                                                    :   Magistrate Judge Sharon L. Ovington
    vs.                                             :
    CLAY A. SWANSON,                                :
                                                    :
             Defendant.                             :
                                                    :


                            REPORT AND RECOMMENDATIONS1


            This case came before the Court for a plea hearing on September 22, 2021.

Assistant United States Attorney Amy M. Smith appeared and represented the

Government, and Matthew Suellentrop appeared and represented Defendant. Defendant

was present with counsel.

            Prior to the hearing, the parties entered into a proposed binding plea agreement

pursuant to Fed. R. Crim. P. 11(c)(1)(C), which agreement has been filed of record.

(Doc. # 27). Under the terms of the plea agreement, Defendant agreed to plead guilty as

charged in the Information currently pending against him, which charges him with

Conspiracy to Possess with Intent to Distribute 50 grams or more of Methamphetamine in

violation of Title 21 U.S.C. §§ 841(a)(1) and (b)(1)(B).




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    Attached is a NOTICE to the parties regarding objections to this Report and Recommendations.
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       During the plea hearing, the undersigned had the opportunity to address Defendant

in open court and to inform Defendant of all rights and privileges as set forth in Fed. R.

Crim. P. 11(b)(1). Further, the undersigned carefully inquired of Defendant regarding his

understanding of the agreement, as well as his competence to understand the agreement.

Having fully inquired, the undersigned Judicial Officer finds that Defendant’s tendered

plea of guilty as charged in the Information was knowing, intelligent, and voluntary.

Additionally, based upon the statement of facts, which were read into the record and

affirmed by Defendant, the undersigned finds that there is a sufficient factual basis for

finding that Defendant is in fact guilty of Conspiracy to Possess with Intent to Distribute

50 grams or more of Methamphetamine in violation of Title 21 U.S.C. §§ 841(a)(1) and

(b)(1)(B).

       Based upon the foregoing, it is RECOMMENDED that the District Court accept

Defendant’s plea of guilty as charged in the Information currently pending against him

and find him guilty as charged of Conspiracy to Possess with Intent to Distribute 50

grams or more of Methamphetamine in violation of Title 21 U.S.C. §§ 841(a)(1) and

(b)(1)(B).

       Pending the Court’s acceptance of Defendant’s guilty plea, Defendant has been

referred to the Probation Department for a pre-sentence investigation and report.

September 29, 2021                                     s/Sharon L. Ovington
                                                        Sharon L. Ovington
                                                   United States Magistrate Judge




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                        NOTICE REGARDING OBJECTIONS

        Pursuant to Fed. R. Crim. P. 59(b)(2), any party may serve and file specific,
written objections to the proposed findings and recommendations within FOURTEEN
days after being served with this Report and Recommendations. Such objections shall
specify the portions of the Report objected to and shall be accompanied by a
memorandum of law in support of the objections. If the Report and Recommendation is
based in whole or in part upon matters occurring of record at an oral hearing, the
objecting party shall promptly arrange for the transcription of the record, or such portions
of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party’s
objections within FOURTEEN days after being served with a copy thereof.

       Failure to make objections in accordance with this procedure may forfeit rights on
appeal. See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947,
949-50 (6th Cir. 1981).




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